Dear Mr. Jelks:
You have requested our opinion as to whether an earlier Attorney General's Opinion is applicable to funds recently received by the LSU in Shreveport Foundation and matched by the State of Louisiana for the Eminent Scholars Program.
Opinion Number 93-455 appears to address the investment issues about which you are concerned and that opinion has not been modified or recalled. Therefore, the foundation should observe the guidelines set forth in that opinion, a copy of which is attached.
I trust that this answers your inquiry. Please advise if we may be of further assistance in this matter.
Sincerely,
                          Richard P. Ieyoub Attorney General
                          By: Glenn R. Ducote Assistant Attorney General